Case 1:16-cv-06704-PAE-KNF Document 150-11 Filed 12/24/20 Page 1 of 3




            EXHIBIT K
                       Case 1:16-cv-06704-PAE-KNF Document 150-11 Filed 12/24/20 Page 2 of 3

                                                                                                                                                                                                               __,~
                                                                                                                                                                                                                          '7'1......   , "' .,_



t!i»          )'
                                                                       CORRECTION OEPA
                                                                          CITY OF NEW YDn:r<
                                                                                             iENT
                                                                                                                                                                        Page 1
                                                                                                                                                                                      I       mn: AR.C 239M




                                                                                                                                                                                                                             "
                                                                                                                                                                           of
'-       ,.}
     .........
                                                                                                                                                                       2 Pages
                                                                                                                                                                                       t{ev.: 09/14
                                                                                                                                                                                       Ref. : Dir. #4100R-D
                                               ARRAIGNMENT AND CLASSIFICATION RISK SCREENING FORM

       lnma(e•s La?ame:
                                              S'S
                                                                                        Fir~am.c;___
                                                                                                     (]€__
                                                                                                                                                                   M.l.:
                                                                                                                                                                                I
                                       <!J                                                    ~ \ Ql
                                                                                        I.C.E. #: / '                                1       Green Card ~dicate #):
                                                                                                                                             Yes 0No
                                                                                                                                                                                      CMC: Yes 0No ..
                                                                                                                                                                                      CMC#:

       Commitment Received From Court:                                                         Nvt:DOC physical custody
                                                                                                ,9~ I        -sA-
                                                                                                                                             datj/jt
                                                                                                                                              I
                                                                                                                                                                   Destination Ftrlity~~
                                                                                                                                                                                      c.                C-
          .fil."). I -;)A~ I d6• 'p                                         HRS                           ;I I C).<> A-                              HRS
A
                                               Last Name                                              First Name                                                   Separation:
                                                                                                                                                                                                  Yes          ON~~
                       ci:i
                       w                                                                                                                                           OSIU#:
                       (/)                                                                                                                                                                                 //
                       <t:
                       :::i                                                                                                                                                                             -, .
                       <t:                                                                                                                                         RediD:
                                                                                                                                                                                                  YesO , d

       Do yo1.1 have~ediate medical needs? (if yes, specify)
       Yes 0No
                                                                                                           IDoes Securing Order/Commitment PaperOdica~icallmental
                                                                                                            health a~nti on requested?      Yes   No

        Do you have any of the following symptoms?:                                   Fever- Yes      0    No   [J"            Cough- Yes           O No~ Sore Throat- Yes [ ] No 0--
                                                      If "Yes" to any of the above symptoms, refer the inmate directly to medical services

        Physical condition as stated by inmate:                                                                               Officer's observation, include any obvious indication of immediate medical
                                                                                                                              needs or any display of extreme nervousness or depression, etc.:


                       ~~~                                     "tJ1 ~"€3 ~:f'                    II                              ~t2~~                                ~
        Look for signs of the following (Check when a p p ; : .
                                   0         Dilated Pupils                            Tattoos                                                           0    Signs of trauma (severe bruises or blood on clothing)

B
                                   0         Needle Tracks                       0      Puncture Marks                                                   0    Body Deformities (Missing Limbs)
                                   0                                             0     Scars (from attempted suicides)                                   0    other (Specify)

                                                                           I
                                             Staggering

       Are you disa~Yes. specify)                                            Are you req~reasonable accommodation? (If Yes, specify)
        Yes 0No                                                              YesOt-b ~
                                                      DESCRIPTION OF CLOTHING (INCLUDING MULTIPLE ITEMS)




                                                                                                                                                                                                  ~-
                                                                                                                                                                                      ~                                                 w
                   ITEMS               YES      NO       COLOR               REMARKS                      ITEMS          YES         NO        COLOR              REMARKS             w                                                 C)
                                                                                                                                                                                      0                                                 ~
                                                                                                                                                                                      z
       PANTS                        /                  ~)lt'-                                    COA TIJACKET
                                                                                                                         /                    ~)~,A<-
                                                                                                                                                                                      ii:
                                                                                                                                                                                      ><
                                                                                                                                                                                      w
                                                                                                                                                                                                                                        "'en
                                                                                                                                                                                                                                        :1:
                                                                                                                                                                                                                                        0
                                                                                                                                                                                      c                                                 a
       SHIRT/BLOUSE                 /               <1 ~wo\----                                  SHOESTRINGS
                                                                                                                          /                   ~\\<-
                                                                                                                                                                                      ~
                                                                                                                                                                                      f-
                                                                                                                                                                                      u.
       QRESSISKIRT
                                              ,_/__   ' ·--        .._..   __....       -- -
                                                                                                 HAT
                                                                                                   --             - .. - -·          /             - - -.--       --- -·
                                                                                                                                                                                      ~
                                                                                                                                                                                      "'•·z   .
     ";~17                                             6rv.A                                     SCARF                           '7i                                                  02                                   ...          z
                                                                                                                                                                                                                                        Q
                                                                                                                                                                                      c.
                                                                                                                                                                                      11::
                                                                                                                                                                                                                w.            ..        en
                                                                                                                                                                                                                                        !Q
       SHOES
                                   I            /                                                GLOVES                              /ll                                              w
                                                                                                                                                                                      C)
                                                                                                                                                                                      z
                                                                                                                                                                                      ii:
                                                                                                                                                                                                  ·.'
                                                                                                                                                                                                   ';j~ ~~·~
                                                                                                                                                                                                                                        ~
                                                                                                                                                                                                                                        0
                                                                                                                                                                                                                                        <(

       SNEAKERS                    /                  [E. . . .r                                 FACIAL JEWElRY                  I/                                                                        I
                                                                                                                                                                                                                     - -... >-1
                                                                                                                                                                                                                    j '
      ~nat~pon~issfo),: /-..__.;
                           ~
                              ..4
                                             :A/             7
                                                                                                          ISurrendering~
                                                                                                                     r
                                                                                                                         ~R<J1~
                                                                                                                           "-                  -~
                                                                                                                                                                                          Date:         u~J l (;




       Arrf~ date/,
          I         d~         /(a
                                                              Arre~mber;..
                                                                           ~      ~     ~~                                           ~
                                                                                                                                         \                                                     "1igt:;~z:
              I
                        I                                                      CLOSEST PERSON TO CONTACT IN CASE OF EMERGENCY                                                                     I            I_
       Last Name:
                                                        .-                              I First Name:                --                              IPhonen~:                                    Re1iat~


       Street Address:
                                                      ----                                            Apt. #: _.    rCity:                    -                       T State:__,_                       JZip codr.---.. ·


D
       English jtpeaking: (If No, what language)
       Yes C]No               0                                                                    I   Level    of~~a~~                                       I Social Security !1'                                       -
       Occupalionacr!S: (If Yes, specify)                                                                               Served in th~ (If Yes. indicate branch, unit and special skills)
       Yes 0No ··                                                                                                       Yes 0No
       Is this the first           lilT!.~ have been held in jail or custody?                                           Do yo1.1 know of any reason why you may be at risk or need special security
       Yes         0          No   0          Conflict 0                                                                or protection from the General Inmate Population? Such as:
                                                                                                                             • Having been assaulted. harassed, or coerced. sexually or otheiWise.
       Are you now or have you ever been a law enforcement agent. police
                                                                                                                                while in custody or during prior jail time?
       lofoJmool. pol~~:' figu1e o1 mombe< of • crimloal o< torrori•l
       crganizatior!? (If Y . specify)                                                                                           -H~l"g ~; a• belog goy, O< '"""''"'"'· a 010" d<es"'·
                                                                                                                                  or visibly femini (if housed in male population)?
       Yes         0          No              Conflict 0
                                                                                                                                - Or any other. eason?
E
                                                                                                                        Yes 0                 No         Conflict 0



                                                                                                                                                    ~~


        I have been advls~-~ all.!be q~J.E::.I.lcns in                                 S~ly for my own well bl fngT
                                                                                                                                                    r        d have responded as sla~f;/~Ji.£
        Inmate's Siqnature: {.   A  k::7                 Z                                                                                                                Date: ..:/- '.:J.{;V / ·
                                                                                                                                                                                       7            /

                                                                                                                                                                                                               DEF_0038
                Case 1:16-cv-06704-PAE-KNF Document 150-11 Filed 12/24/20 Page 3 of 3


------~---------------------
                    CORRECTION DE, ------------------~~----~--·----~-~---,
                                     TMENT             Page 2 Form: ARC 239M 9' .. -
                                                             CITY OF NEW YORK                                                                            of            Rev. : 09114
                                                                                                          : r::                                  2 Pages               Ref. ; Dir. #4100R-D
                                 ARRAIGNMENT AND CLASSIFICATION RISK SCREENING..;- 1ORM

         1 Do any documents indieate Suicide Watch and/or               Protectiv~ Custody?  a~rization
                                                                                               No   [Zf     Yes     0    If Yes,

         2.   Do you know of any other reason this inmate should be considered ~ousing? No [3' Yes 0 tf Yes, specify

         3. Complete for all State inmates, from N.Y.S. Custodial Tr             er Form:
 F                                    Maximum_ A        O       Max       m-B   0       Medium - A    0              Medium - B        0                      inimum     0
         If there is a "Yes," "Conflict," or "Maximum-          esponse checked in Sections "E" or "F," print the                      e. rank and shieJI'l              ....rer of the supervisor
         notified:

                                                                                                                                                                             Shield #
                               Name       /                                                   ~
                                                                                                                                                 Number of
                                                                              ~ng co?'mitme~t
                                                                                                                                                                               Is Surety exam noted
         Check off any of the charg' listed below if indicated by the                                  pape;s as a                                                             on the inmate's
         current or prior charge (including attempts). In all cases where the charge agamst the mmate IS .                                       Wa~)                          SeCUJ:ing Order?
         125.27 a mental health referral (clearly indicating the capital offense) will be filled out and submitted
         by the Intake Supervisor to the New Admission Intake Physician.                                                                                                       It /   (j   p...> -'L

         O 105.17- Conspiracy 1ST        0 200.45 - Bribe Public OffiCial     0 240.06 - Riot 1ST                                                        I
 G O          125.27 - Murder 1ST             0   205.05- Escape 3RD                O 263,10- Promote Obscene Sex Pertormance WJChild

         0    130.35- Rape 1ST                0   205.10-Escape2ND                  0   263 .1 5 - Promoting Sex Performance W/Child


         0    200.04 - Bribery 1ST            0   205.15 - Escape 1ST               0   120.11 · Aggravate<j Assault/Police/Peace Officer

          Name of Supervisor Notified if Any Charge Box(es) Above is Checked:                                       Rank:                                                      Shield#:
                               _,


         To be completed by the screening officer. An individual shall be considered a "Street Gang Member" when they meet any of the following gang member
         identification criteria:
          • Admits membership*
          • Law enforcement or informant identifies individual as          a gang membel'*
          • individual is we-aring g<::r.g clothing and/or symbols identifying with a sr:-ecific gang•
          * Inmate has revealing tattoo(s) or marking{s) which may identify him/her as a member of a street gang (Describe in remarks section)*
               Nature of arrest is indicated as street gang related activity or related incident*
          1. Are you a member of or have you ever been a member of any street gang . cult, tribe, family group, or organization?                                                Yes 0                  Not:f         /



     1
          2. Have you ever been affiliated with any street gang, cult. tribe, family group, or organization?                                                                    Yes 0                  No   1L('/ -
          3. Do you have any members of your ~ar.-~ily affiliated with any street gang, cult. tribe, family group, or organization?  Yes 0 No!21 v
         ~--~~------~·------~~----~--~~--·-------~nwu·~~~----------~;_~~--~-------------·------~~------==~~                         ·vesO
          4. Do you know of anyone wl1o is a member of any stre~t gang, cuit. tribe, family group, or orgar.ization who is incarcerated?   NoCY

                                                                                                                                                                                        0
                                                                                                                                                                                                                     -
          5 . Do you have any knowledge of any street gang , or jail gang activity?                                                                                             Yes                    Nol:Y         v
          6. Do you have any other names [alias(es)] and/or nicknames that you are known by? (If Yes, list)                                                                     Yes     0              No ·c;y

          • Use remarks section below to answer any ''Yes" responses to questions listed above.
          Remarks:


                                                                                                                                             /       /

                                                                                                                     I   Date: ..J_ ~ .?"                    jjb
                                                                             RECEIVING FACILITY SUPERVISOR                         /             /
          1. Does th is l nm~eel any one of the. gang affiliatio n identification criteria? Yes No                                                                                          0                   0'
         ~----------~----~------~~----------~--~~------------------------+--~~~~---+~J
          2. Has a Security Risk Group (SRG) card been Initiated?                           Yes No [A"                                                                                      D
             3 . Is Protective Custody, Suicide Watch or a psychiatric examination (730) Indicated on the commitment papers?                                                   Yes          0          No       E1   -
             4. Does the inmate have any obvious physical injuries or exhibit signs of mental instabflity?                                                                     Yes          D          No    lEr
             5. Has medical staff cleared this Inmate for housing?                                                                                                             Yes          (a"        No       0
 J
          6. Does the inmate require special housing? (If Yes, specify type)                                                                                                   Yes          D          No    iz
          7. Is the housing designation assigned against the Inmate's will?                                                                                                    Yes          0          No    fr
          8. Has the Inmate been issued a notice report of right to due process form. (Whether the housing placement is
             voluntary or involuntary, the inmate must be issued a Notice of Right to Due Process Form.)
                                                                                                                                                                               Yes          0          No     .12r
          9. If inmate Is disabled (as indicated In Section B of this form) was Counseling Unit notified?                                  Yes       O          No   0
               If notified, specify date/time of notification and name of Counselor: Date;                                 Time;                         Name;

               If not notified, infonnatlon identifying disabled inmate must be forwarded to Counseling Unit on Form 3802D.

               Receiving Faci lity Supervisor's Initials·

 K
          Has the inmate been permitted the opportunity to make a free phone call? (If Yes, indicate)                                            Refused        0              YesO                    NoD
          Date:                                                 Time:                         Number Dialed:


 L        The inmate's classification custody level is:                    Minimum    0                           Medium   0                         MaximumW                              Incomplete       0
         tl.::~~~~;-~j~~~=F==~A~==~--~S~IQff.~~~~e~s----------------------------------~--~D~at~e~--~---T!i~m~e~--~
 M        Inmate's signature:        X( ~                                 ~O        AI .../":\

          Receiving facility sur(so~nature:
 N
          Inmate's signature upon discharge from court facility:
 0
 p        Court facility supervisor's signature upon discharge: ~




                                                                                                                                                                                DEF_0039
